                     Case 8-20-08049-ast      Doc 41      Filed 08/03/22   Entered 08/03/22 14:12:30




                                       Jeffrey P. Nolan             August 3, 2022                    310.772.2313
                                                                                                jnolan@pszjlaw.com




L O S A N G E L E S, C A
S A N F R A N C I S C O, C A
W I L M I N G T O N, D E
                                           The Honorable Alan S. Trust
N E W Y O R K, N Y                         United States Bankruptcy Court
                                           Eastern District of New York
10100 SANTA MONICA BLVD.                   Alfonse M. D’Amato Federal Courthouse
13th FLOOR
LOS ANGELES
                                           290 Federal Plaza
CALIFORNIA 90067                           Central Islip, New York 11722
TELEPHONE: 310/277 6910
                                                   Re:    In re Orion HealthCorp, Inc., et al.
FACSIMILE: 310/201 0760
                                                          Howard M. Ehrenberg v. Arvind Walia;
SAN FRANCISCO
                                                          Niknim Management Inc.
150 CALIFORNIA STREET                                     USBC EDNY Adv. Proc. No. 20-08049-ast
15th FLOOR
SAN FRANCISCO
                                       Dear Judge Trust:
CALIFORNIA 94111-4500

TELEPHONE: 415/263 7000                        We are counsel for Howard M. Ehrenberg in his capacity as
FACSIMILE: 415/263 7010
                                       Liquidating Trustee of Orion Healthcorp, Inc., et al. (the “Liquidating
                                       Trustee”) in the above referenced adversary proceeding. We write to
DELAWARE
919 NORTH MARKET STREET
                                       advise the Court of an impasse, status and that each side has submitted
17th FLOOR                             declarations on the issue.
P.O. BOX 8705
WILMINGTON                                     The parties participated in a mediation session with Judge Rosen
DELAWARE 19899-8705
                                       and which did not result in a settlement. After that mediation, the
TELEPHONE: 302/652 4100
                                       parties continued to engage in settlement discussions, but are not close
FACSIMILE: 302/652 4400
                                       to a resolution. Further delay will not result in a settlement. The
                                       scheduling order proposed by the Liquidating Trustee provides the same
NEW YORK
780 THIRD AVENUE
                                       time-lines anticipated by the parties before expert discovery was paused
34th FLOOR                             to accommodate mediation.
NEW YORK
NEW YORK 10017-2024                           The Liquidating Trustee will cause this letter to be served on the
TELEPHONE: 212/561 7700                Office of the United States Trustee and all other parties entitled to
FACSIMILE: 212/561 7777
                                       receive notice.
TEXAS
                                                                       Very truly yours,
440 LOUISIANA STREET
SUITE 900
HOUSTON                                                                /s/ Jeffrey P. Nolan
TEXAS 77002
                                                                       Jeffrey P. Nolan
TELEPHONE: 713/691 9385

FACSIMILE: 713/691 9407                :lsc

WEB:   www.pszjlaw.com                 DOCS_LA:344681.2 65004/003
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                  cc:     Sanford P. Rosen, Esq., Paris Gyparakis, Esq. (Via ECF)
                          (Counsel for Defendants)




                  DOCS_LA:344681.2 65004/003
